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                                                                                4                                  ,----"-----------­


    'AO 245B (CASD) (Rev. 4114)    Judgment in a Criminal Case
               Sheet 1




                                              UNITED STATES DISTRICT COURj C1ER~'·,!!=.c ~:~~:;.'~ ,~T f~:')~C':
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                              p.. t: c:..

                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 1981)

                         Jakari Deandrez Blake -11                                   Case Nwnber: 13-cr-04510-JAH-ll

                                                                                     Charles L Rees
                                                                                     Defendant's Attorney
    REGISTRATION NO. 46193298

    o
    TIlE DEFENDANT:
    \8J pleaded guilty to count(s) One of the Superseding Indictment.

    o     was found gUilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following otTense(s):
                                                                                                                                           Count
    Title & Section                          Nature of Offense                                                                            Number(s)
18:1962(d); 18:1963,                  Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering                           1
1594(d) and 2428(a)                   Activity




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not gUilty on count(s)

 181 count(S)_re_ma_in_i...ng:::...._ _ _ _ _ _ _ _ _ _----------------------------------------------
                                                       _ _ _ _ _ _ _ is 0 are\8J dismissed on the motion of the United States.
 \8J Assessment: $100.00.




 181 No fine                                        o Forfeiture pursuant to order filed
                                                                                                   ------------                , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                         13-cr-04510-JAH-Il
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AO 245B (CASD) (Rev 4114) Judgment in a Criminal Case
           Sheet 2 Imprisonment
                                                                                             Judgment - Page _ _2_ of       4
 DEFENDANT: lakari Deandrez Blake -11
 CASE NUMBER: 13-cr-04S10-JAH-ll
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Time served (739 days).




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                   Oa.m.      OP.m.          on _ _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -----------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                   to

 at ______________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~~~----------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                               13-cr-04S10-JAH-ll
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AD 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page ~ of _--.;;4~__
DEFENDANT: Jakari Deandrez Blake -II
CASE NUMBER: 13-cr-04510-JAH-ll
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
Two years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The  defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
D The    defendant shall comply with tfie requirements ofthe Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
    by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check if applicable.)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          Ifthis judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                               13-cr-04510-JAH-ll
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     - Continued 2 - Supervised Release

     Defendant: Jakari Deandrez Blake


     CASE NUMBER: 13CR04510·011·JAH

                                         SPECIAL CONDITIONS OF SUPERVISION


I.   Provide complete disclosure of personal and business financial records to the probation officer as requested.

2.    Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as
directed by the probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment provider.
May be required to contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on ability
to pay.

3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or
media, including social media accounts and effects by probation officer based upon reasonable suspicion that you are in possession of
contraband or in violation of any other condition of supervised release.

5. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. Advise the probation officer of the identity of every computer
or electronic device in your home. And not to use any of them unless you have the pennission the probation officer or consent to the
installation of that equipment at your cost. The offender shall consent to the installation of systems that will enable the probation
officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay for the cost of
installation of the computer software.

6. Shall not associate with any known member, prospect, or associate of the (BMS or YP F AB gang), or any other gang, or club with
a history of criminal activity, unless given pennission by the probation officer.

7. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victims or victims' family, without prior approval of the probation officer.

8. Shall not loiter, or be present in locations known to be areas where known gang members congregate, unless given pennission by
the probation officer.

9. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known gang,
unless given pennission by the probation officer.

10. Not associate with known prostitutes or known pimps and/or loiter in areas frequented by those engaged in prostitution.
